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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

SANDRA URIBE,
                                                      CIVIL CASE MANAGEMENT PLAN
                        Plaintiff,
                                                                 24-CV-07182 (HG)
                v.

ELAHI LLC D/B/A WISE DRUGS, and
ADNAN SHAHID,

                        Defendants.


HECTOR GONZALEZ, United States District Judge:

       After receiving input from the parties, the following Case Management Plan is adopted.

This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16 and 26(f).

The parties should not anticipate extensions of the deadlines specified in this order and shall not

make a unilateral decision to stay or halt discovery on the basis of settlement negotiations, or for

any other reason, in anticipation of an extension.

       The parties shall list the contemplated discovery activities and anticipated completion

dates in Attachment A, annexed hereto. Interim deadlines for these discovery activities may be

extended by the parties on consent without application to the Court, provided the parties are

certain that they can meet the fact and expert discovery completion dates.

       1.      Fact Discovery

               a.      The parties are to conduct discovery in accordance with the Federal Rules

                       of Civil Procedure and the Local Rules of the Eastern District of New

                       York. All fact discovery is to be completed by _______________, which

                       date shall not be adjourned except upon a showing of good cause and

                       further order of the Court.
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           b.    For all causes of action seeking monetary damages, each party shall

                 identify and quantify in Attachment B, annexed hereto, each component of

                 damages alleged; or, if not known, specify and indicate by what date

                 Attachment B shall be filed providing such information.

           c.    Any motion to amend pleadings or to join additional parties not allowed as

                 of right pursuant to the Federal Rules of Civil Procedure must be raised

                 through a pre-motion letter that complies with Section IV.A of the Court’s

                 Individual Practices by _______________.

      2.   Expert Discovery

           a.    The parties agree that there [is ___ / is not ___ ] a need for expert

                 discovery.

           b.    All expert discovery is to be completed by _______________, which date

                 shall not be adjourned except upon a showing of good cause and further

                 order of the Court.

           c.    If the parties agree that there is no need for expert discovery, all discovery

                 shall be completed by the deadline for fact discovery, unless – prior to that

                 date – a party files a motion seeking an extension for purposes of taking

                 expert discovery, which must comply with Section I.D of the Court’s

                 Individual Practices. Any such motion should explain why expert

                 discovery has become necessary and propose a schedule for such

                 discovery.
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      3.   Post-Discovery Motions

           a.    30 days after the completion of fact or expert discovery, whichever occurs

                 later, the parties shall file pre-motion letters related to any proposed

                 motions for summary judgment or motions to exclude the testimony of

                 experts pursuant to Rules 702-705 of the Federal Rules of Evidence and

                 the Daubert v. Merrill Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993)

                 line of cases.

           b.    Any such pre-motion letters shall comply with Section IV.A of this

                 Court’s Individual Practices, including the requirement that any such

                 letters related to a motion for summary judgment contain the statement of

                 material facts required by the Eastern District of New York’s Local Civil

                 Rule 56.1.

           c.    There shall be no cross-motions. Any motions not raised in a pre-motion

                 letter by the deadline specified above will not be considered. The papers

                 served and filed pursuant to any motions allowed by the Court shall

                 comply with the requirements in Section IV.A and B of this Court’s

                 Individual Practices.

      4.   Pre-Trial Submissions

           a.    The case [is ___ / is not ___ ] to be tried to a jury.

           b.    The parties shall submit to the Court for its approval a Joint Pretrial Order

                 containing the content described in Section VI.B of the Court’s Individual

                 Practices either: (a) within 60 days after the completion of fact or expert
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                    discovery, whichever occurs later, or (b) if a summary judgment motion

                    has been filed, within 30 days after a decision on such motion.

             c.     The parties shall file any motions in limine 30 days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

             d.     The parties shall file any requests to charge, proposed verdict sheets, and

                    proposed voir dire questions 10 business days in advance of trial in

                    accordance with Section VI.C of the Court’s Individual Practices.

      5.     This order may not be modified or the dates herein extended, except by further

             order of this Court requested in accordance with Section I.D of the Court’s

             Individual Practices. Requests for extensions will ordinarily be denied if made

             after the expiration of the original deadline. Further, the use of any alternative

             dispute resolution mechanism does not stay or modify any date in this order.

             Indeed, unless the Court orders otherwise, parties engaged in settlement

             negotiations must proceed on parallel tracks, pursuing settlement and conducting

             discovery simultaneously. Parties should not assume that they will receive an

             extension of an existing deadline if settlement negotiations fail.

SO ORDERED.



                                                       HECTOR GONZALEZ
                                                      United States District Judge
Dated: Brooklyn, New York

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                                      ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and
quantify each component of damages alleged:


1.     PLAINTIFF’S CLAIMS:




2.     COUNTERCLAIMS AND CROSS-CLAIMS:




3.     THIRD-PARTY CLAIMS:
